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         Attorneys for Debtor, Edward A. Ariniello, Jr.




                                     UNITED STATES BANKRUPTCY COURT

                                               DISTRICT OF OREGON

                                                             Case No. 21-31142-dwh11
          In re:

          EDWARD A. ARINIELLO, JR.,                          NOTICE OF ERRATA


                                          Debtor.

                   Edward A. Ariniello, Jr., (the “Debtor”) hereby submits this errata to the Debtor’s Plan of

         Reorganization [Dkt 30] filed on August 17, 2021 (the “Plan”).

                   Debtor’s Plan referenced an Exhibit 2 which was not attached. Accordingly, Debtor

         hereby attaches the missing Exhibit 2 to the Debtor’s Plan.

                   Dated: August 23, 2021.

                                                        MOTSCHENBACHER & BLATTNER LLP

                                                        /s/ Nicholas J. Henderson
                                                        Nicholas J. Henderson, OSB No. 074027
                                                        117 SW Taylor Street Suite 300
                                                        Portland, OR 97204
                                                        (503) 417-0508
                                                        (503) 417-0528 Facsimile
                                                        Attorneys for Debtor in Possession




Page 1              NOTICE OF ERRATA                                                      MOTSCHENBACHER & BLATTNER, LLP
                                                                                            117 SW Taylor Street, Suite 300
{00464481:1}
                                                                                                 Portland, OR 97204
                                                                                              Telephone: (503) 417-0500

                                 Case 21-31142-dwh11         Doc 33     Filed 08/23/21
                      In re: Edward A. Ariniello, Jr.
                      Bankr. Case No. 21-31142-dwh11


                                                                             EXHIBIT 2
                                                                       FINANCIAL PROJECTIONS

                                                           11/1/21 – 10/31/22      11/1/22 – 10/31/23      11/1/23 – 10/31/24             Totals
                      1) Projected Household
                                                               $152,740                 $160,379                $168,400                $481,520
                         Gross Income
                      2) Projected Household
                                                               ($40,060)               ($42,065)                ($44,175)               ($126,300)
                         Tax Withholding
                      3) Projected Insurance Costs
                                                                ($1,575)                ($1,675)                ($1,775)                 ($5,025)
                      4) Projected Retirement
                                                                ($4,850)                ($5,000)                ($5,200)                ($15,050)
                         Contributions
                      5) Domestic Support Obligations
                                                               ($10,650)               ($10,650)                ($10,650)               ($31,950)




Case 21-31142-dwh11
                      6) Projected Net Income
                                                                $95,605                 $100,990                $106,600                $303,195
                      7) Projected Household
                                                               ($92,485)               ($96,190)               ($100,000)               ($288,675)




Doc 33
                         Expenses
                      8) Projected “Net Disposable
                                                                 $3,120                  $4,800                  $6,600                  $14,520
                         Income”

                      NOTES / ASSUMPTIONS:




Filed 08/23/21
                      1) All figures are annual figures.

                      2) The 2021 to 2022 figures are based on the Debtor’s Amended Schedules I & J [ECF No. 29], which are attached.

                      3) The figures for 2022 to 2023, and for 2023 to 2024, were projected by estimating approximately 5% growth year-over-year for
                         income, and approximately 4% inflation year-over-year for projected household expenses. The projections also include estimated
                         increases for insurance premiums.



                      {00464183:1}
                                                                           EXHIBIT 2 - Page 1 of 5
Fill in this information to identify your case:

Debtor 1                      Edward A. Ariniello, Jr.

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF OREGON

Case number               21-31142-dwh11                                                                Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                               Not employed
       employers.
                                             Occupation            Business Owner                              Dental Operations Manager
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       U.S. Outdoor Holding LLC                    Clackamas County Health Centers

       Occupation may include student        Employer's address
       or homemaker, if it applies.
                                                                                                               Oregon City, OR

                                             How long employed there?         4 years                                   2 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         5,999.50        $         6,729.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      5,999.50               $   6,729.00




Official Form 106I
                                                       EXHIBIT  2 - Page 2 of 5
                                                              Schedule I: Your Income                                                             page 1

                                            Case 21-31142-dwh11 Doc 33 Filed 08/23/21
Debtor 1   Edward A. Ariniello, Jr.                                                              Case number (if known)    21-31142-dwh11


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      5,999.50       $         6,729.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      1,430.00       $        1,908.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $            0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $          404.00
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $            0.00
     5e.    Insurance                                                                     5e.        $          0.00       $          131.00
     5f.    Domestic support obligations                                                  5f.        $        886.17       $            0.00
     5g.    Union dues                                                                    5g.        $          0.00       $            0.00
     5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $            0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          2,316.17       $        2,443.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,683.33       $        4,286.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $               0.00
     8e. Social Security                                                                  8e.        $              0.00   $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $               0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              3,683.33 + $       4,286.00 = $           7,969.33
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $           7,969.33
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain: Debtor's non-filing spouse will begin making contributions to a retirement account in September of
                             2021. Those anticipated contributions have been accounted for in these amended schedules.




Official Form 106I
                                                 EXHIBIT  2 - Page 3 of 5
                                                        Schedule I: Your Income                                                                     page 2

                                      Case 21-31142-dwh11 Doc 33 Filed 08/23/21
Fill in this information to identify your case:

Debtor 1                Edward A. Ariniello, Jr.                                                           Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF OREGON                                                         MM / DD / YYYY

Case number           21-31142-dwh11
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age                live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                              2,664.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                 0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                               page 1
                                                     EXHIBIT 2 - Page 4 of 5
                                          Case 21-31142-dwh11 Doc 33 Filed 08/23/21
Debtor 1     Edward A. Ariniello, Jr.                                                                  Case number (if known)      21-31142-dwh11

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 85.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                372.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,000.00
8.    Childcare and children’s education costs                                                 8. $                                               100.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                35.00
10.   Personal care products and services                                                    10. $                                                250.00
11.   Medical and dental expenses                                                            11. $                                                100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 842.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 325.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  108.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  187.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Non-Filing Spouse's Debt and Credit Card Payments                   21. +$                                                500.00
      Orthodontics                                                                                +$                                               138.00
      Pest Control                                                                                +$                                                31.00
      Portland Parking                                                                            +$                                               370.00
      Non-Filing Spouse's Savings                                                                 +$                                               300.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       7,707.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       7,707.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               7,969.33
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              7,707.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 262.33

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                                                     EXHIBIT 2 - Page 5 of 5
                                          Case 21-31142-dwh11 Doc 33 Filed 08/23/21
